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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,

      Plaintiff,
vs.                                                 CASE NO.: 21-CR-638

Gilberto Fonticoba,

      Defendant.
                             /
           NOTICE OF FILING OF CHARACTER LETTERS
      GILBERTO FONTICOBA, by and through undersigned counsel, hereby

gives Notice to this Honorable Court of the filing of character letters for sentencing.

Counsel will provide the letters to the government and to chambers

contemporaneously with this Notice.

      Respectfully submitted,

      /s/Aubrey Webb_______
      55 Merrick Way, Suite 212
      Coral Gables, Florida 33134
      305-461-1116
      Email: aubrey@aqwattorney.com

                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was
efiled to the Office of the Clerk, United States District Court, District of Columbia,
333 Constitution Ave., N.W. Washington D.C. 20001, Room 1225 and to the
Office of the United States Attorney, 555 4th St N.W., Washington D.C. 20530, on
this January 8, 2023.

      /s/Aubrey Webb
